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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

SHARINA JONES,                                        Case No.: 2:12-cv-12625
                                                      Hon. Denise Page Hood
            Plaintiff,                                Mag. Judge Laurie J. Michelson
vs.

URBANCAL OAKLAND SQUARE, LLC,                         STIPULATION AND ORDER
a Foreign Limited Liability Company; and              OF DISMISSAL WITH
KOHL’S DEPARTMENT STORES, INC.,                       PREJUDICE AND WITHOUT
a Foreign Corporation,                                COSTS OR ATTORNEY FEES

        Defendants.
_______________________________________________________________________/

           STIPULATION FOR DISMISSAL WITH PREJUDICE AND
                 WITHOUT COSTS OR ATTORNEYS FEES

        Counsel for the parties hereby stipulate to the dismissal of this case with

prejudice and without costs or attorneys’ fees to any party.

        Stipulated this 17th day of July, 2013.

 /s/ Pete M. Monismith (w/consent) . /s/ Kevin A. Fanning                               .
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 /s/ Steven M. Hyder (w/consent) .        /s/ Maryellen McLeod (w/consent)                  .
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                                         /s/ Joseph A. Siciliano (w/consent)            .
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                            ORDER OF DISMISSAL

      The Court, having reviewed the foregoing stipulation:

      IT IS ORDERED that this case is DISMISSED WITH PREJUDICE and

without costs or attorneys’ fees awarded to any party.

      IT IS ORDERED.



Dated: July 17, 2013                         s/Denise Page Hood
                                             DENISE PAGE HOOD
                                             U.S. DISTRICT COURTJUDGE

I hereby certify that a copy of this order was served upon the attorneys of record on
this date, July 17, 2013, by electronic and/or ordinary mail.


                                             s/LaShawn R. Saulsberry
                                             Case Manager
